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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                          CASE NO. 2:14-CR-00044 GEB
12                                Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                          [PROPOSED] FINDINGS AND ORDER
14   PETER KUZMENKO,                                    DATE: June 17, 2016
                                                        TIME: 9:00 a.m.
15                                Defendant.            COURT: Hon. Garland E. Burrell, Jr.
16

17                                               STIPULATION
18         1.      By previous order, this matter was set for status on June 17, 2016.
19         2.      By this stipulation, defendant now moves to continue the status conference until July 29,
20 2016, and to exclude time between June 17, 2016, and July 29, 2016, under Local Code T4.
21         3.      The parties agree and stipulate, and request that the Court find the following:
22                 a)      The government has represented that the discovery associated with this case
23         includes investigative reports and related documents, as well as tax documents, bank records and
24         other documents obtained via subpoena. The government estimates that this discovery consists
25         of more than 15,000 pages of documents. All of this discovery has been produced directly to
26         counsel and/or has been made available for inspection and copying.
27                 b)      Counsel for defendant will be in trial beginning on June 17, 2016 before the
28         Honorable Kimberly J. Mueller, and therefore needs additional time to prepare for this case. The

      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]      1
30    FINDINGS AND ORDER
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 1        discovery in this case consists of more than fifteen thousand pages of documents, and counsel

 2        needs additional time to review discovery and to continue the defense investigation.

 3                c)      Counsel for defendant believes that failure to grant the above-requested

 4        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 5        into account the exercise of due diligence.

 6                d)      The government does not object to the continuance.

 7                e)      Based on the above-stated findings, the ends of justice served by continuing the

 8        case as requested outweigh the interest of the public and the defendant in a trial within the

 9        original date prescribed by the Speedy Trial Act.

10                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

11        et seq., within which trial must commence, the time period of June 17, 2016 to July 29, 2016,

12        inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

13        because it results from a continuance granted by the Court at defendant’s request on the basis of

14        the Court’s finding that the ends of justice served by taking such action outweigh the best interest

15        of the public and the defendant in a speedy trial.

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     STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]       2
30   FINDINGS AND ORDER
                 Case 2:14-cr-00044-TLN Document 89 Filed 06/07/16 Page 3 of 3


 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

 5 Dated: June 6, 2016                                        PHILLIP A. TALBERT
                                                              Acting United States Attorney
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 7                                                            /s/ MICHELE BECKWITH
                                                              MICHELE BECKWITH
 8                                                            Assistant United States Attorney
 9
10 Dated: June 6, 2016                                        /s/ MICHAEL CHASTAINE
                                                              MICHAEL CHASTAINE
11
                                                              Counsel for Defendant
12                                                            Peter Kuzmenko

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17                                  [PROPOSED] FINDINGS AND ORDER

18          IT IS SO FOUND AND ORDERED.

19 Dated: June 7, 2016

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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]        3
30    FINDINGS AND ORDER
